        Case 8:21-bk-11710-SC              Doc 229 Filed 09/15/22 Entered 09/15/22 13:37:06 Desc
                                            Main Document     Page 1 of 1                
                                         United States Bankruptcy Court
                                          Central District of California

                          Audio Recording of Court Proceedings Order Form
              Ordering Party Information                                            Case Information
Name:    Aaron E. de Leest, Esq.
         _____________________________________                                  Jamie Lynn Gallian
                                                              Case/Debtor Name: ______________________________
Firm/Agency: Danning, Gill, Israel & Krasnoff, LLP
             _________________________________
         1901 Avenue of the Stars, Suite 450
Address: _____________________________________                                                       7________
                                                                           8:21-bk-11710-SC Chapter: ___
                                                              Case Number: ________________
                  Los Angeles, California 90067
City, State, Zip: ________________________________
          Aaron E. de Leest, Esq. Phone:(310) 277-0077
                                                                       Bankruptcy case  Adversary case
Contact: __________________               ____________
                                          __
       adeleest@DanningGill.com
eMail: _______________________________________
                                                                               Hon. Scott C. Clarkson
                                                              Presiding Judge: _______________________________
                                                              Pr
U.S. Government Agency?         Yes  No
                                                              Case/Hearing Under Seal?         Yes 
                                                                                                     No
Chapter Trustee?      Yes       No
Hearing Information: (A separate form must be completed for each hearing date requested)

                 9/13/2022
Date of Hearing: __
                 ____________ Time of Hearing: ________              5C____
                                               11:00 a.m. Location: __
                                                                    ____                                12
                                                                         ______ Calendar Matter Number: ______
                  (ONE hearing date)


Number of CDs Requested for this One Hearing ($3.00 each)  1
                                                        h): _______
Format: Please select desired format.
 CD - FT
        FTR Gold format requires FTR Player™ available as a free download from <www.fortherecord.com>. FTR format
        allows the listen
                       ener
                          er to navigate through the recording using real-time references from the hearing.
 CD - Windows Media Audio format will play using standard media players on Windows-compatible computers.
xx CD - MP3 format will play on Windows or Apple/Macintosh (“Mac”) computer and most CD
                                                                                          CD-R an
                                                                                                 and CD
                                                                                                     CD-RW
        compatible players designed to play music.

Cost:
The cost for
           or one compact disc (CD) is $3
                                       $3.00. Payment is required for
                                                                     or each hearing date before an audio request may be
processed. Audio requests are ordinarily completed within tw
pr                                                         two business days from receipt of payment. The ordering party
will be notified by telephone when the audio request is ready for
                                                               or pick up. CD’s
                                                                             ’s will be mailed if postage paid envelope is
provided.
pr
U.S. Government Agencies including th
                                   the U.S. Trustee are exempt from paying the fee.*
Fee may be waived with Court-Approved Fee
                                        ee Waiver Order (attach the Court Order to this
                                                                                     is form).**
                                                                                              **

                                       THIS SECTION COMPLETED BY CLERK’S OFFICE

                                         Date      By                      Number of Media Duplicated

        Audio CD Request Received                          *U.S. Government/U.S. Trustee - Fee Exempt?      Yes  No
              Audio CD Duplicated                                  **Fee
                                                                   ** Fee Waiver (Court Order attached)?    Yes  No
          Party Notified for Pick-up
                                  up                                                         Total Cost    $

        Picked up by Ordering Party                                                            Fee Paid    $

           Mailed to Ordering Party                                               Cashier Receipt Number




                                                                                                                    
                                                                                                                       
